                  IN THE UNITED STATES DISTRICT COURT FOR THE
                          WESTERN DISTRICT OF MISSOURI
                               CENTRAL DIVISION

UNITED STATES OF AMERICA,                  )
                                           )
                      Plaintiff,           )
                                           )
v.                                         )      Case No. 2:11-CR-04015-01/02-BCW
                                           )
ANDREW DAVID BRANDWEIN                     )
DEBRA LOUISE BRANDWEIN,                    )
                                           )
                      Defendants.          )

                                          ORDER

       Before the Court is Magistrate Judge Matt J. Whitworth’s Report and Recommendation

(Doc. #58) denying Defendants’ Motions to Suppress evidence as a result of the search of their

residence (Docs. #33 and #38). Defendants filed objections to the Report and Recommendation.

(Docs. #72 and #73). After an independent review of the record, the applicable law, and the

parties’ arguments, the Court adopts the Magistrate’s findings of fact and conclusions of law.

Accordingly, it is hereby

       ORDERED the Magistrate Judge Whitworth’s Report and Recommendation (Doc. #58)

shall be attached to and made part of this Order, and Defendants’ Motions to Suppress evidence

(Docs. #33 and #38) are DENIED.

       IT IS SO ORDERED.


DATED: March 28, 2013                             /s/ Brian C. Wimes
                                                  JUDGE BRIAN C. WIMES
                                                  UNITED STATES DISTRICT COURT




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